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% A 0 245B    (Rev.06105)Judgment in a Criminal Case
              Sheet I




                       SOUTHERN                                  District of                                 ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                   DEKAL T. JAMES                                        Case Number:           4:07CR40006-004-JPG

                                                                         USM Number: 07331-025
                                                                          John R. Abell
                                                                         Defendant's Attorney
THE DEFENDANT:
upleaded guilty to count(s)          1, 5, 6 and 10 of the Superseding Indictment
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count@)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                      Offense Ended              -
                                                                                                                                    Count
 21 U.S.C. 046                     Conspiracy to Distribute & P o s s e s s W i i Intent to Distribute    3/7/2007                    Is
                                   in Excess of 5 0 Grams of Cocaine Base
 21 U.S.C. 841(a)(I)               Distribution of Less Than 5 Grams of Cocaine Base                      8/9/2006                    5s, 6s

       The defendant is sentenced as provided in pages 2 through             11         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count@)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         It is ordered that the defcndanlmust notify the llnjtsd Stares attorney ior this distrjct within 30 da c ofan) change dfname, residence,
or nla~lingaddrcss u n t ~ all
                           l fines, rest~tut~on,costs,
                                                   and spcc~alassessments lmposed b) th~sjudgm:nt arc fully paid. Ifordered to pa) rcstltutlon,
the dcicndant must notif) the court and i'nited States attorney of material changes in c;onom!c circumstances.




                                                                          J . Phil Gilbert                           District Judge
                                                                                                                   Title of Judge
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                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                 Nature of Offense                                        Offense Ended
21 U.S.C. 856(a)(1)              Maintaining a Place for the Pwposes of Distributing a    912012006              10s
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A 0 245B        (Rev. 06105)Judgment in Criminal Case
                Sheet 2 - Tmnr~ronment


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                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  262 months (262 months on Counts I,5 and 6 and 240 months on Count 10.) All Counts to run concurrent with each other




      17 The court makes the following recommendations to the Bureau of Prisons:



      @ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

                  at                                     a.m.          p.m.    on
                  as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           17     before 2 p.m. on
                  as notified by the United States Marshal.

                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                              BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised Release
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DEFENDANT: DEKAL T. JAMES
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 1 0 years (10 years on Count 1 , 6 years on Counts 5 8 6 and 3 years on Count 10) All Counts to run concurrent with each
 other.


     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pr~sons.
The defendant shall not commit another federal, state or local crime
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determ~nedby the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicahle.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a tjne or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule oC~aymentssheet of thls judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation ofticer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associa!e with any persons en aged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the pro%ationofficer;
  101 the defendant shall pcmlit a probation ofticer to v ~ i i him
                                                                t   or hcr at an) time at home or else\\ltere 2nd shall prrmit conti,;ation oiany
      ~ontrabandobjened in plan \,leu of the prob3t1onofticer:
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the rohation officer, the defendant shall notifythird parties of risks that may be occasioned by the defendant's criminal
         record or persona? history or character~sticsand shall permlt the probat~onofficer to make such not~ficat~ons        and to confirm the
         defendant s compliance with such notification requirement.
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A 0 2458   (Rev 06105). Judmnent
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           Sheet 3C- Supervised Release
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DEFENDANT: DEKAL T. JAMES
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
 treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
 detection measures and which may require residence andlor participation in a residential treatment facility. Any
 participation will require complete abstinence from ail alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
 States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
 in a one year period.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall participate in a program of mental health as directed by probation.
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           Sheet 5 -Criminal Monetary Penalties
1
- 11
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                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                                               Restitution
 TOTALS            $ 400.00                                                                                   $ 0.00



     The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case ( A 0 2 4 5 0 will be entered
     after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lithe deiendmt makc, a panial pa).ment, each pa ee shall rzceive m approuirnatcl) prs snisncd qrncnt, ufiless specified othcnr.isc j11
      the pr~orir)order ,,r pcrcntaee pabrnent :olurntl i,I  Hu\r,e\er. pursuant to 18 L . s . ~ $. 36648;. a l l nontederal \lct~rnsmu51 bc. p31d
      heforc the Un~tedStates IS pad.

 Name of Pavee                                                             Total*                Restitution Ordered     Prioritv o r Percentage




 TOTALS                                $                       0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 6 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @ the interest requirement is waived for the           @ fine           restitution.
           the interest requirement for the            fine           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprll23, 1998.
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A 0 2458   (Rev 06105) Judgment in aCrtmlnal Case
           Sheet 6 -Schedule of Payments
                                                                                                        Judgment-   Page     7     of       11
 DEFENDANT: DEKAL T. JAMES
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                                                    SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Ed Lump sum payment of $                               due immediately, balance due

                 not later than                                 , Or
                 in accordance               C,      D,           E, or         F below; or
 B         Payment to begin immediately (may he combined with              C,          D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date ofthis judgment; or

 D         Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    Ed Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, t h e defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.



 Cnlcssthecoun hascxpr<ssl\ orderedotheruise. ifthisjudgrnent imposes imprisonment, mentofiriminal monzraq pcnalticj ijducdurin
 impri~onm~nt.All crlmlnal moneta penalties, except those payments made througrt%e Federal Rur?au 01' Prisons' Inmate kinancia?
 Rcsponsibilir) Pwgnm, arc madc r o x c clcrk oirhc court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
